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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                               CIVIL ACTION NO. 17-11011-GAO

                                        ANDREW MOBUS,
                                           Plaintiff,

                                                  v.

                   BARD COLLEGE, PETER LAIPSON, and SUSAN LYON,
                                    Defendants.


                                              ORDER
                                            July 27, 2018

O’TOOLE, D.J.

       This case arises from a student disciplinary proceeding at Bard College at Simon’s Rock

(“Bard” or “defendant”) in which Andrew Mobus, the plaintiff, was found responsible for sexual

misconduct against another student and consequently expelled. Mobus now brings claims under

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, and the Massachusetts common

law, alleging that the investigation and disciplinary proceedings which led to his expulsion were

procedurally flawed and motivated by gender bias on the part of Bard personnel who conducted

the proceedings.1 Currently before the Court are the parties’ cross-motions to compel written

discovery.




1 The complaint asserts claims for (1) erroneous outcome, in violation of Title IX of the Education
Amendments of 1972, 20 U.S.C. §1681; (2) breach of contract; (3) promissory estoppel; (4)
negligent infliction of emotional distress; (5) intentional infliction of emotional distress; (6) breach
of good faith and fair dealing; (7) negligence; and additionally seeks (8) a declaratory judgment
nullifying the proceedings and expunging the plaintiff’s record. Individual defendants named in
the complaint, Peter Laipson, and Susan Lyon, were dismissed as parties by stipulation shortly
after the filing of this lawsuit.
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       Many of the issues raised in the motion papers were resolved by the parties prior to or

during the hearing on the pending motions held on May 7, 2018.2 The issues still in dispute are

addressed in turn. Issues that are now moot by agreement are identified as such.

I.     Plaintiff’s Motion to Compel Discovery Responses

       The plaintiff’s motion to compel discovery responses (dkt. no. 36) is GRANTED in part

and DENIED in part as follows:

       Document Request No. 26: The plaintiff’s request that the defendant be ordered to produce

all communications between Bard College—as opposed to Bard College at Simon’s Rock—and

the Department of Education Office of Civil Rights (“OCR”) is DENIED. These communications

are not relevant to the subject matter of this litigation given that Bard College and Bard College at

Simon’s Rock have separate reporting statuses for OCR purposes. The motion is similarly denied

to the extent it seeks an order overruling Bard’s general objection to the plaintiff’s interrogatories

and document requests.

       Document Request Nos. 1–3: The defendant is now directed to submit the LF outcome

letter to the Court for in camera review. The defendant shall file the document under seal and ex

parte within seven (7) days of the entry of this order. The Court will review the document and

issue a separate ruling regarding its production.

       Document Request Nos. 22 & 24: The plaintiff’s request to compel the production of all

documents relating to JG’s academic performance and disciplinary history while in attendance at

Bard, including other allegations of misconduct that JG might have made, is DENIED. These




2 The parties informally submitted documents during the motion hearing. Because they have been
consulted in consideration of the issues raised, those documents have been placed on the docket
under seal in conjunction with the entry of this order. The documents will be unsealed fourteen
(14) days after the entry of this order unless either party raises an objection to the unsealing.
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documents are not relevant to the plaintiff’s claims against the school concerning the procedural

adequacy of its disciplinary proceedings, as distinguished, for example, from a case in which his

claims might be (or were) directly made against JG. Compelling their production would needlessly

intrude on JG’s privacy interest in her academic record.

       Document Request No. 25: The plaintiff’s request to compel the production of all

documents and communications relating to modifications of Bard’s student handbook from

January 1, 2014, to the present is GRANTED to the extent that these documents and

communications are not privileged.

       Discovery from Bard Former Employees: The plaintiff’s request for discovery from Bard’s

former employees is MOOT by agreement of the parties.

II.    Defendant’s Motion to Compel Discovery Responses

       The defendant’s motion to compel discovery responses (dkt. no. 48) is DENIED without

prejudice as follows:

       Document Request Nos. 45, 46, 50–52: The defendant’s requests to compel the production

of all documents and communications from the individuals who conducted the polygraph

examinations of the plaintiff in connection with the LF and JG disciplinary proceedings, and the

forensic psychiatrists who met with the plaintiff is DENIED without prejudice. The defendant has

not demonstrated exceptional circumstances warranting the disclosure of these documents, which

were prepared by non-testifying experts in anticipation of litigation, and in the case of the

polygraph examination concerning the JG proceeding, after the plaintiff’s expulsion. See Fed. R.

Civ. P. 26(b)(4)(D); Szulik v. State St. Bank & Tr. Co., No. CIV.A. 12-10018-NMG, 2014 WL

3942934, at *1–2 (D. Mass. Aug. 11, 2014); In re PolyMedica Corp. Sec. Litig., 235 F.R.D. 28,




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30–31 (D. Mass. 2006). The plaintiff states that he does not intend to use this information at trial.

The defendant may renew its motion to compel if circumstances change.

        Document Request Nos. 48 & 49, and Unredacted Facebook Messages: The defendant’s

requests for certain portions of the plaintiff’s medical records and for unredacted copies of

Facebook messages between the plaintiff and a certain individual are both MOOT by agreement

of the parties.

        It is SO ORDERED.

                                                              /s/ George A. O’Toole, Jr.
                                                              United States District Judge




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